               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE LAVOIE-FERN,                    )
SHERRY KONWALER,                     )
HARVEY HOROWITZ, and                 )
MARIE BRUEN,                         )
                                     )    Case No. 1:21-cv-01245-SHR
                     Plaintiffs,     )
                                     )    (Judge Sylvia H. Rambo)
      -vs-                           )
                                     )
THE HERSHEY COMPANY,                 )
                                     )
             Defendant.              )



                    PLAINTIFFS’ BRIEF IN OPPOSITION TO

                     DEFENDANT’S MOTION TO DISMISS




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        Defendant’s motion is patently wrong and must be denied. The NLEA does not apply to

the claims in this case, and there is no conflict preemption.

                                          ARGUMENT

        Defendant makes two arguments. First, Defendant argues that Plaintiffs’ state tort law

claims are expressly preempted because they seek to impose obligations that are not identical to

the requirements of 21 U.S.C. §343(i)(2). Second, Defendant argues that any allegation that

defendant should not have used glycyrrhizin is conflict preempted. Defendant is wrong.

I.      PLAINTIFFS’ CLAIMS ARE NOT EXPRESSLY PREEMPTED BY THE NLEA

     A. Preemption Within the Third Circuit

        Defendant first argues that Plaintiffs’ claims are expressly preempted because they seek

to impose obligations that are not identical to the requirements of 21 U.S.C. §343(i)(2).

Conspicuously, Defendant fails to cite any case law within this Circuit. This is for good reason.

        In Fellner v. Tri-Union Seafoods, L.L.C., 539 F.3d 237 (3d Cir. 2008), the plaintiff

appealed a decision of the district court, which granted the defendant tuna fish producer’s motion

to dismiss the consumer’s action under the New Jersey Products Liability Act, on the grounds

that the consumer’s claims were preempted under the Supremacy Clause by the Food and Drug

Administration’s (FDA) regulatory approach. The consumer alleged that she was harmed as a

result of her consumption of methylmercury and other harmful compounds contained in the tuna

fish products. She sought recovery under the NJPLA, based on the producer’s failure to warn of

the risks incurred in consuming its products. The district court held that the claims were

preempted by the FDA’s regulatory approach to the risks posed by mercury compounds in tuna

fish. The district court took judicial notice of an FDA consumer advisory, a “backgrounder,” a

section of the FDA’s compliance policy guide, and a letter written by the Commissioner of the

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FDA. In reversing and remanding the district court’s decision, the court held that the FDA had

promulgated no regulation concerning the risk posed by mercury in fish or warnings for that risk,

had adopted no rule precluding states from imposing a duty to warn, and had taken no action

establishing mercury warnings as misbranding under federal law or as contrary to federal law in

any other respect. The court held that none of the documents cited constituted a federal legal

standard or binding regulatory action on the subject which could have given rise to a conflict.

       The defendant cited three theories of preemption: “(1) that the FDA ha[d] adopted a

“pervasive regulatory approach” -- embodied in the FDA’s Advisory, backgrounder and internal

enforcement guideline -- with which Fellner’s state lawsuit actually conflict[ed]; (2) that the

FDA ha[d] ‘reject[ed] the use of warning labels’ in favor of a more ‘nuanced’ approach -- that is,

that the FDA ha[d] reached a decision that warnings should not be regulated, a decision which

preempt[ed] the state from entertaining a claim based on a duty to warn theory; and (3) that the

FDA would have rejected any warning as ‘misbranding,’ a determination which preempts

Fellner’s failure-to-warn claim.” Id. at 242. The Third Circuit rejected each of these arguments.

       First, the Court noted that the Defendant did not, and could not make any claims for

express preemption under the FDCA, NLEA, or by federal regulation (presumably for the

reasons discussed infra in I.B.). Id. at 243. Nor could there be any field preemption, because

“courts rarely find field preemption, especially in areas traditionally regulated by the states,

unless the structure of a regulatory program leaves little doubt that Congress intended federal law

to be exclusive in a particular field.” Id. at 243, n.3. The only possible preemption, the Court

held, would be conflict preemption. Id. at 243.

       The Court discussed that the Supreme Court historically has applied a presumption

against the preemption of state laws unless there is a clear and manifest purpose of Congress to



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do so. Id. at 248. The Court stated that recent Supreme Court jurisprudence suggested that the

presumption remains applicable when preemption claims concern areas of the law “which the

States have traditionally occupied,” and that it was “hard to imagine a field more squarely within

the realm of traditional state regulation than a state tort-like action seeking damages for an

alleged failure to warn consumers of dangers arising from the use of a product.” Id. The Court

stated that “[f]urthermore, state tort law and other similar state remedial actions are often deemed

complementary to federal regulatory regimes, and this appears to be such a case. Federal

regulatory programs frequently do not include a compensatory apparatus, and the Supreme Court

has recognized that state tort law can also play an important information-gathering role not easily

replicated by federal agencies. When a litigant asserts that a private right of action, as opposed to

a state statute or regulation, is preempted, we are cognizant that preemption may leave

individuals with rights but no private remedy, where traditionally there has been one. Although

Congress certainly can afford, and in some instances has afforded, federal regulators exclusive

jurisdiction over a particular subject matter, and federal regulations will preempt state laws that

actually do conflict with them, we do not lightly infer such a result where state compensatory

regimes have traditionally played an important role. Id. at 249.

       With regard to the regulatory scheme argument, the Court held that the FDA had not

promulgated any legal standards regarding warnings, and that even if the “regulatory scheme”

was of a type that could preempt state law, the defendant had identified no conflict between the

claims and regulatory scheme. Id. at 251-52. The Court found that the lawsuit did not conflict

with the FDA’s informal advice warning about the risks of mercury consumption in fish, and that

rather, the concerns expressed therein were entirely consistent with, and arguably

complementary to, a duty state law may impose on manufacturers to warn consumers of the risks



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posed by excess consumption of tuna. Id. at 252. The Court likewise stated that the FDA’s

guideline for allowable levels of mercury, rather than conflict with the plaintiff’s claim, instead

were “entirely consistent with, and arguably complementary to, a state claim that Tri-Union

wrongfully failed to warn consumers of the risks posed by those compounds.” Id. The Court also

rejected an argument that the FDA Commissioner had put out a letter that the FDA preferred not

to use warnings for this issue, finding that “the letter itself does not establish a federal policy

against warnings capable of preempting state law,” and rejected a similar argument that the FDA

had declined to mandate mercury warnings in response to a citizen’s petition for them to do so,

stating that “[t]he FDA merely explained that it would decline to require that the omega-3 fatty

acid health claim be accompanied by a mercury warning, not that all mercury warnings should be

affirmatively prohibited.” Id. at 253, 253 n.10.

       Next, the Court specifically rejected the argument that the FDA’s decision not to regulate

or mandate warnings preempted state law. Id. at 247. The Court stated that “[a]lthough the

federal government certainly may promulgate a regulatory regime in which it decides that a

particular issue is best left unregulated, as the Supreme Court has explained, ‘to say that [such a

regime] can be created is not to say it can be created subtly.’ Isla Petroleum, 485 U.S. at 500. A

mere decision by the FDA not to adopt a federal warnings requirement certainly does not alone

preclude states from imposing a duty to warn.” Id. at 253. The Court concluded that “State law is

not preempted whenever an agency has merely ‘studied’ or ‘considered’ an issue; state law is

preempted when federal law conflicts with state law. As we have explained, the cases leave no

doubt that a mere decision not to regulate -- in this case, a decision not to require a federal

methylmercury warning -- alone will not preempt state law. See supra note 6 and accompanying

text. As we have also explained, we find no federal standard, mandate or regulatory action on the



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subject with which Fellner’s claim conflicts nor any federal determination precluding state

regulation of the issue.” Id. at 254 (emphasis in original).

       Finally, with regard to the argument that a warning would be preempted by the FDCA

and NLEA, the Court stated that:

       Had the FDA considered the factual basis for the alleged duty to warn and
       exercised its misbranding authority to establish that a warning based on that data
       would be false or misleading under federal law -- not merely that the FDA had
       failed to require the warning, but had exercised its authority specifically to
       reject it -- our recent decision in Colacicco would govern and a state failure-to-
       warn lawsuit would be preempted. However, Tri-Union’s misbranding theory
       suffers from the same shortcomings as its prior theories: it identifies no
       regulatory action establishing mercury warnings as misbranding under
       federal law, and it fails to explain how the regulatory concerns it has
       identified actually conflict with Fellner’s lawsuit.

       The FDA has taken no misbranding action pertaining to the risk of mercury in
       tuna whatsoever. In the above-listed provisions, Congress provided a broad
       spectrum of ways in which the FDA may act in order to enforce the statutory
       prohibition on misbranded food -- “a suitable written notice or warning;” an
       administrative proceeding of the type required to precede a criminal prosecution;
       a federal court action seeking an injunction or criminal penalties, and affirmative
       regulation. However, the FDA has taken no action pursuant to this authority.
       Instead, the FDA merely expressed an informal policy opinion in a letter, and it
       did so only after Fellner’s injuries were allegedly suffered. We need not decide at
       what point a particular warning becomes established as false and misleading for
       preemption purposes. Suffice it to say that the FDA must actually exercise its
       authority in a manner in fact establishing the state warning as false or
       misleading under federal law; the informal views expressed in the
       Commissioner’s letter will not preempt Fellner’s lawsuit.

       Furthermore, as with its other preemption theories, TriUnion fails to identify an
       actual conflict between the FDA’s concerns and Fellner’s claims. We perceive no
       actual conflict between those concerns and Fellner’s lawsuit. Had Tri-Union
       wished to warn consumers of those risks, as Fellner alleges it should have, it
       is not apparent that Tri-Union would have been unable to do so in a manner
       that satisfied both the alleged state law duty and the FDA’s concerns. For
       example, a warning certainly could have specified that the risks become
       material only with frequent tuna consumption, and that moderate fish
       consumption offers positive health benefits. For these reasons, we find no actual
       conflict between the FDA’s misbranding authority and Fellner’s lawsuit.

Id. at 255-56 (emphasis added). The Court concluded its opinion that:


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       This is a situation in which the FDA has promulgated no regulation concerning
       the risk posed by mercury in fish or warnings for that risk, has adopted no rule
       precluding states from imposing a duty to warn, and has taken no action
       establishing mercury warnings as misbranding under federal law or as contrary to
       federal law in any other respect. Fellner’s lawsuit does not conflict with the
       FDA’s “regulatory scheme” for the risks posed by mercury in fish or the warnings
       appropriate for that risk because the FDA simply has not regulated the matter.
       Fellner’s duty-to-warn claim does not conflict with an FDA determination
       deliberately to forego warnings because the FDA took no action to preclude state
       warnings -- at least, no binding action via ordinary regulatory procedures, and no
       action whatsoever until after Tri-Union allegedly wrongfully failed to warn.
       Finally, Fellner’s lawsuit does not conflict with the FDCA’s food misbranding
       provision or the FDA’s actions thereunder because the FDA has not exercised its
       misbranding authority under the FDCA with respect to methylmercury warnings
       for fish.

       The FDA has only issued a consumer advisory regarding the risks posed by
       mercury in fish and established a guideline regarding mercury concentrations to
       guide its enforcement decisions. Neither of these agency acts constitutes a federal
       legal standard or binding regulatory action on the subject which could give rise to
       a conflict, and indeed neither expresses a policy or viewpoint or approach
       inherently inconsistent with Fellner’s lawsuit. In the final analysis, this case
       involves an agency effort to preempt an area of law traditionally within the states’
       police powers via informal letter, and to do so only after the conduct at issue in
       this case occurred. We understand the precedent to require more of federal
       agencies to institute a policy expressly precluding state regulation than a mere
       informal letter, and neither the Commissioner’s letter nor Tri-Union’s brief
       identifies any federal law with which Fellner’s lawsuit might conflict. Although
       the Supremacy Clause provides that state laws will give way when they actually
       conflict with federal law, on this record we find no federal law with which the
       alleged state duty to warn conflicts.

Id. at 256. As such, the Third Circuit reversed the district court’s dismissal of the action.

       Accordingly, the Third Circuit has explicitly rejected each of the arguments offered by

Defendant. The FDA has promulgated no regulation concerning the risk posed by glycyrrhizin in

candy or warnings for that risk, has adopted no rule precluding states from imposing a duty to

warn, and has taken no action establishing glycyrrhizin warnings as misbranding under federal

law or as contrary to federal law. Instead, the FDA itself has itself put out warnings regarding the

excessive consumption of black licorice (see EXHIBIT 1), and hence, just like in Fellner, this

suit is entirely consistent with, and complementary to the FDA, and is not preempted.
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       Shortly after Fellner, the Supreme Court confirmed that if confronted with two plausible

interpretations of a statute, the courts “have a duty to accept the reading that disfavors pre-

emption.” Holk v. Snapple Bev. Corp., 575 F.3d 329, 334 (3d Cir. 2009) (citing Wyeth v.

Levine, 129 S. Ct. 1187, 1195, 173 L. Ed. 2d 51 (2009)). In Holk, the Third Circuit once again

reversed a district court dismissal, finding that state-based claims related to “all natural” labels

on Snapple bottles were not preempted by the FDCA, NLEA, implied preemption (which was

prohibited under the NLEA), field preemption, or conflict preemption.

       In Wyeth, the warnings on a drug’s label were deemed sufficient by the FDA when it

approved the manufacturer’s new drug application in 1955 and when it later approved changes in

the drug’s labeling. The plaintiff alleged that the labeling was defective because when the risk of

gangrene from IV-push injection of the drug became apparent, the manufacturer had a duty to

provide a warning that adequately described that risk. The manufacturer failed to demonstrate

that it was impossible for it to comply with both federal and state requirements. The CBE

regulation permitted it to unilaterally strengthen its warning, and the mere fact that the FDA

approved the drug’s label did not establish that it would have prohibited such a change. There

was powerful evidence that Congress did not intend FDA oversight to be the exclusive means of

ensuring drug safety and effectiveness. Accordingly, the Supreme Court held that the FDA’s

drug labeling judgments did not preempt state law product liability claims.

       Hence, this is yet another reason why Defendant’s arguments about glycyrrhizin’s GRAS

status from the late 70’s and early 80’s (addressed infra) must be rejected. There is no federal

regulation that prohibits warnings when new information is discovered or learned. As the science

revealed more and more danger from excess consumption of glycyrrhizin, there would be no

reason why Defendant would not be able to warn consumers of such.



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   B. Defendant’s NLEA Preemption Arguments

       With the law of this Circuit now clear, Defendant’s arguments can be addressed. As

shown above, Defendant’s arguments have all been specifically rejected by the Third Circuit.

But even without the Third Circuit, Defendant’s arguments are still wrong.

       Defendant first argues that Plaintiffs’ claims are preempted by the NLEA. Defendant,

however, misstates the entire statutory scheme of the NLEA.

       Under the NLEA, there are certain requirements that apply to certain foods and labeling.

Under 21 U.S.C.S. § 343-1, where such requirements apply, no state is allowed to directly or

indirectly establish that requirement if it is not identical to the federal requirement. In the

absence of any such requirements, however, the NLEA is inapplicable and does not preempt.

       Thus, for example, in Guerrero v. Target Corp., 889 F. Supp. 2d 1348 (S.D. Fla. 2012),

the Court ruled as follows:

       The doctrine of federal preemption derives from the Supremacy Clause of the
       United States Constitution, U.S. Const. art. VI, cl. 2, which invalidates state laws
       that “interfere with, or are contrary to, federal law.” Hillsborough Cnty. v.
       Automated Med. Labs., Inc., 471 U.S. 707, 712, 105 S. Ct. 2371, 85 L. Ed. 2d 714
       (1985) (quoting Gibbons v. Ogden, 22 U.S. 1, 6 L. Ed. 23 (1824)). Federal law
       preempts state law when there is “express preemption, field preemption, and
       implied conflict preemption.” Holk v. Snapple Beverage Corp., 575 F.3d 329, 334
       (3d Cir. 2009) (citing Hillsborough Cnty., 471 U.S. at 713). “Health and safety
       issues have traditionally fallen within the province of state regulation. This is
       true of the regulation of food and beverage labeling and branding.” Holk, 575
       F.3d at 334. In areas of traditional state regulation such as food and beverage
       labeling, “a presumption against preemption exists.” Id. (citing Cipollone v.
       Ligett Grp., Inc., 505 U.S. 504, 516, 112 S. Ct. 2608, 120 L. Ed. 2d 407 (1992));
       see also Smith v. CSX Transp., Inc., 381 Fed. Appx. 885, 886 (11th Cir. 2010).
       “[W]hen the text of a pre-emption clause is susceptible of more than one plausible
       reading, courts ordinarily accept the reading that disfavors pre-emption.” Altria
       Grp., Inc. v. Good, 555 U.S. 70, 77, 129 S. Ct. 538, 172 L. Ed. 2d 398 (2008)
       (internal quotation marks and citations omitted).

       Under the NLEA, “no State or political subdivision of a State may directly or
       indirectly establish under any authority or continue in effect as to any food in
       interstate commerce . . . any requirement for a food which is the subject of a

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       standard of identity established under section 341 of this title that is not identical
       to such standard of identity or that is not identical to the requirement of section
       343(g) 13 of this title.” 21 U.S.C. § 343-1(a)(1). The statute further provides that
       a state may not establish “any requirement for the labeling of food of the type
       required by section 343(b), 343(d), 343(f), 343(h), 343(i)(1), or 343(k) of this title
       that is not identical to the requirement of such section.” 21 U.S.C. § 343-1(a)(3).
       Nonetheless, the NLEA “shall not be construed to preempt any provision of
       State law, unless such provision is expressly preempted under section 403A
       14 of the Federal Food, Drug, and Cosmetic Act.” Nutrition Labeling and
       Education Act, Pub. L No. 101-535, § 6(c)(1).
       …
       The Court agrees with Plaintiff that the Florida Honey Standard is not expressly
       preempted by federal law. When it enacted the NLEA, Congress was clear that
       it would not “preempt any provision of State law, unless such provision is
       expressly preempted under section 403A of the Federal Food, Drug, and
       Cosmetic Act.” Nutrition Labeling and Education Act, Pub. L No. 101-535, §
       6(c)(1). As Plaintiff points out, Congress has only expressly preempted standards
       of identity which conflict with established federal standards. See Response at 15.
       While Congress could have banned all state standards of identity, it did not do so.
       Other courts have noted that under the NLEA, “‘the only State requirements that
       are subject to preemption are those that are affirmatively different from the
       Federal requirements.’“ Chavez v. Blue Sky Natural Beverage Co., 268 F.R.D.
       365, 372 (N.D. Cal. 2010) (citing In re PepsiCo, Inc. Bottled Water Mktg. & Sales
       Practices Litig., 588 F. Supp. 2d 527, 532 (S.D.N.Y. 2008)). Here, the Florida
       Honey Standard does not conflict because there is no federal standard of identity
       for honey. The Court does not find any conflict between this conclusion and 21
       U.S.C. § 343-1(a)(3) because, if a state has prescribed a standard of identity for a
       food product, the provisions of 21 U.S.C. § 343(i)(1) are not triggered. The Court
       thus declines to grant the Motion on the grounds that the Florida Honey Standard
       is expressly preempted by federal law.

Id. at 1360-63 (emphasis added).

       Hence, as Section 403A (i.e. 21 U.S.C. § 343-1) does not expressly preempt placing a

warning on a product against certain levels of consumption of a food product, the NLEA would

not preempt a state’s products liability claim. This is especially true, since “[i]n areas of

traditional state regulation such as food and beverage labeling, ‘a presumption against

preemption exists.’” This is why Defendant speaks in broad strokes, and cannot point to any

actual provision that would expressly preempt any labeling with respect to black licorice.

       In fact, Defendant’s own cited case states as such. Defendant relies upon Nemphos v.


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Nestle Waters N. Am., Inc., 775 F.3d 616 (4th Cir. 2015), a Fourth Circuit case that Defendant

contends supports Defendant’s position. In fact, however, Nemphos disproves Defendant’s

position. In Nemphos the Court held that the plaintiff’s claims were preempted only because the

FDA had created a “standard of identity” for bottled water, and had also created specific

regulations pertinent to fluoride level warning labels. Id. at 622-24. The plaintiff wanted a more

detailed warning, even though the manufacturer had followed FDA regulations pertinent to

fluoride level warning labels. Id. at 618. In fact, the FDA had previously considered and

ultimately declined the plaintiff’s desired regulations that were central to her complaint. Id. at

623. Because the claims effectively imposed greater obligations on the defendant manufacturers

than that required by the FDA, the district court concluded the claims were preempted. In

affirming this decision, the Fourth Circuit emphasized that the labeling requirements set forth in

the complaint were “in addition” and “simply not identical to” the FDA’s existing regulations.

Id. at 625. The Court reasoned that the warning sought “would oblige Nestlé and Dannon to issue

warnings about the risks of dental fluorosis for their products in the state of Maryland, even

though the FDA resolved not to take that same step.” Id. at 625-26.

       The Court made sure to discuss that “[a] federal law may preempt state intervention in

one aspect of a given food, for example, while allowing states to act on other aspects of the same

food” (Id. at 619.), and that the NLEA only preempts those laws that it preempts expressly in its

express provisions. Id. at 620. As explained by the Court, the food must be the subject of a

federal standard of identity in order for the NLEA’s preemption to apply. Id. at 621.

       Additionally, the Court made sure to point out that:

       The NLEA does afford a specific exception to its preemption provisions -- for
       state-generated “safety” warnings. The preemption provisions in § 343-1 do not
       “apply to any requirement respecting a statement in the labeling of food that
       provides for a warning concerning the safety of the food or component of the

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         food.” NLEA § 6(c)(2), 104 Stat. at 2364,, reprinted in 21 U.S.C. § 343-1, at 87.
         In the context of food additives, the FDA defines “safety” as entailing “a
         reasonable certainty in the minds of competent scientists that the substance is not
         harmful under the intended conditions of use.” 21 C.F.R. § 170.3(i). Establishing
         “complete certainty” of “absolute harmlessness” is not required. Id. Although the
         NLEA’s preemption provisions sweep broadly, state-law duties may be
         insulated from the Act’s preemptive reach if they involve warnings about
         food “safety.”

Id. (emphasis added), but that the plaintiff had not raised the issue. Id. at 625 n.5.

         Accordingly, Defendant’s argument is wrong for several reasons. First, there is no

standard of identity here for the Twizzlers or Good and Plenty products at issue, so the NLEA

does not apply. 1 In the cases cited by Defendant, the courts were dealing with items that had

standards of identity and regulations as to how they could be labeled. 2 Second, there are no

federal warning regulations here, so again, the NLEA would not apply. Third, this case deals

with a safety warning, which is expressly excepted from the NLEA. And fourth, Plaintiffs are not

seeking to mandate that Defendant have to do anything on its labels. Whether or not Defendant

placed a warning (which contrary to Defendant’s naked argument, would not have to vary by

state) would be Defendant’s choice. However, in the absence of Defendant voluntarily placing a

warning on its labels, Defendant leaves itself open to suits for products liability and negligence.

That is a conscious business choice to be made by Defendant; it is not a requirement by the

1
  Defendant cites to no case for the proposition that an ingredient’s GRAS status creates a “standard of identity” for
the product at issue. Every food product necessarily contains ingredients that would have GRAS status, and
Defendant’s argument would render meaningless the NLEA’s applicability only to items with standards of identity.
The issue in this case is not the labeling of the glycyrrhizin ingredient, but rather a warning relating to the
consumption of the Twizzlers and Good & Plenty products. Defendant does not cite to a single document or citation
that there is any standard of identity for these products.
2
  For example, Turek v. Gen. Mills, Inc., 754 F. Supp. 2d 956, 961 (N.D. Ill. 2010), dealt with using “insulin” and
still labeling the product as containing “fiber,” which had extensive substantive regulations governing the use of
insulin and how it could be labeled, and labeling items as containing fiber and the accompanying health claims.
Gubala v. CVS Pharmacy, Inc., 2015 U.S. Dist. LEXIS 77509, at *8-9 (N.D. Ill. June 16, 2015) likewise dealt with
permissible labeling of whey protein, which also had extensive substantive regulations regarding permissible
labeling of products as containing protein. And in Chi. Faucet Shoppe, Inc. v. Nestlé Waters N. Am. Inc., 24 F.
Supp. 3d 750, 758-60 (N.D. Ill. 2014), the court dealt with labeling of “bottled water,” which also was subject to
extensive regulations, as discussed therein and in Nemphos. Hence, every single case cited by Defendant, including
Nemphos as discussed above, dealt with items with standards of identity with extensive regulations as to permissible
labeling of particular components, something distinctly absent in our case.

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States to create any sort of requirement on Defendant.

II.    THE NLEA EXPLICTLY EXCEPTS FOOD SAFETY WARNINGS

       As discussed above, the NLEA expressly excepts from its preemptive reach safety

warnings for food or any of its components. The plain language could not be clearer that the

NLEA, or any preemption resulting therefrom, does not apply to this case.

       Relying on two foreign district court decisions, however, In re Bisphenol-A (BPA)

Polycarbonate Plastic Products Liab. Litig., 2009 U.S. Dist. LEXIS 104451, (W.D. Mo. Nov. 9,

2009) and Mills v. Giant of Md., LLC, 441 F.Supp.2d 104, 108–09 (D.D.C.2006), Defendant

argues that because glycyrrhizin has GRAS status, the NLEA’s clear food safety warning

exception does not apply. Neither of these cases dealt with GRAS status.

       Another district court has already dealt with the inapplicability of these two cases to a

case like ours, as well as the faulty conclusion of In re BPA, and its words are better than any the

undersigned would be able to come up with. In Sciortino v. PepsiCo, Inc., 108 F. Supp. 3d 780

(N.D. Cal. 2015), the Court explained:

       In sum, considering (1) the plain language of the government statutes, (2) the
       presumption against preemption of the states’ historic police powers, Medtronic,
       518 U.S. at 485, (3) the related requirement to accept, when plausible, the reading
       of an express preemption clause that disfavors preemption, see Altria, 555 U.S. at
       77, (4) the evidence of Congress’s intent not to regulate carcinogens or include
       state warning laws under the NLEA’s express preemption provision, (5) the
       inclusion of a provision specifically saving state law claims based on warnings as
       to safety, and (6) Congress’s consideration and lack of action as to specific
       legislation that would expressly preempt warning requirements such as those
       under Proposition 65, the Court concludes that it was not Congress’s clear and
       manifest intent to include Proposition 65 warning claims within the scope of the
       NLEA’s express preemption clause. Moreover, the Color Additive Amendments
       and the Delaney Clause under which the FDA issued its safety finding contain no
       express preemption clause.

Id. at 806-07. The Court masterfully dealt with the issue in some depth and detail, and the

Court’s opinion with the relevant highlighted portion is annexed hereto as EXHIBIT 2.


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       In short, the Court held that there was no express preemption by the NLEA, because

requiring a warning was not covered under the NLEA “because the duties imposed by

Proposition 65 are not ‘of the type’ of those imposed under the misbranding provisions subject to

preemption; i.e., §§ 343(i) (common or usual name for food or ingredients) and 343(k) (labeling

of any artificial coloring). Proposition 65 does not take issue with the use of the term ‘caramel

color’ for the color additive at issue here. Instead, it addresses the safety of the compound that is

a byproduct of the additive.” Id. at 800. Moreover, even if the NLEA was somehow implicated,

the plain language of the statute and legislative history made clear that food safety warnings

were explicitly excepted and not preempted. Id. at 801-02. In re BPA’s conclusion that a safety

determination by the FDA precludes application of this food safety warning exception has to be

rejected in light of the plain language, legislative history, and purpose of the NLEA. Id. at 802-

05. Furthermore, the regulatory finding by the FDA that the additive was safe did not change this

conclusion, because unlike the NLEA, the statute under which the safety determination had been

made did not contain a preemption clause, and moreover the safety determination was not itself a

regulation of “the labeling of food” so as to implicate the NLEA, but rather was a subsidiary

finding predicate to a labeling determination. Id. at 806. Thus, the NLEA’s food safety warning

exception still clearly applied, and there was no preemption. Id. at 806-07.

       Accordingly, Defendant’s argument must be rejected. The GRAS status of glycyrrhizin

does not remove the NLEA’s food safety warning exception, and the NLEA is inapplicable.

III.   THERE IS NO CONFLICT PREEMPTION

       As a final point, Defendant argues based on some language in the complaint, that if

Plaintiffs are suggesting that Defendant should have used a safer ingredient, that argument would

be conflict preempted based on glycyrrhizin’s GRAS status. For this contention, Defendant cites



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to four cases, Geier v. Am. Honda Motor Co., 529 U.S. 861 (2000); Backus v. Nestle USA, Inc.,

167 F. Supp. 3d 1068 (N.D. Cal. 2016); Beasley v. Lucky Stores, Inc., 400 F. Supp. 3d 942

(N.D. Cal. 2019); and Hawkins v. Kellogg Co., 224 F. Supp. 3d 1002 (S.D. Cal. 2016).

       However, Defendant’s argument is wrong for two important reasons. First, Plaintiffs have

never said that Defendant should have to use a different ingredient. What Plaintiffs’ complaint

states (in the very paragraphs referenced by Defendant) is that Defendant’s continued use of

glycyrrhizin instead of a safer alternative, despite knowing its safety concerns, while

simultaneously refusing to provide a warning to consumers, demonstrated Defendant’s conscious

indifference and utter disregard for the effect of its product upon the health, safety and rights of

others, and thereby Defendant acted wantonly and recklessly. Defendants have never suggested

that Plaintiff should be mandated to use a different ingredient, or that its use of glycyrrhizin was

somehow not allowed. Accordingly, Defendant’s argument never even gets off the ground.

       Relatedly and more importantly, the cases cited to by Defendant all dealt with claims by

plaintiffs under California’s unlawful business practices law and related statutes, seeking to hold

the defendant liable for the use of a produce that was unlawful, and/or to make it immediately

unlawful to sell any product with the ingredient. See, e.g., Beasley, 400 F. Supp. 3d at 949;

Hawkins, 224 F. Supp. 3d at 1013; Backus, 167 F. Supp. 3d at 1070. All three of these cases

revolved around products containing partially hydrogenated oils (“PHOs), which the FDA had

removed from GRAS status, prompting the FDA to issue a regulation that they must be removed

from all foods by the end of three years, and Congress passing a law saying that no food with a

PHO would be considered unsafe or adulterated until such deadline. The three decisions

therefore held that any claims seeking to declare foods with PHO’s unlawful or unfair prior to

the deadline were conflict preempted by the FDA and Congress’ pronouncements thereto. And



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finally, Geier, which was not a food case, did not involve any sort of substitute, but rather sought

to hold the defendant liable for not having an air bag in the car. The Court held that the Federal

Motor Vehicle Safety Standard (FMVSS) 208 specifically allowed manufacturers to choose

among different passive restraint mechanisms, such as airbags, automatic belts, or other passive

restraint technologies, and that the Department of Transportation had specifically rejected a

proposed FMVSS 208 “all airbag” standard, and moreover also deliberately sought a gradual

phase-in of passive restraints. 529 U.S. at 878-79. As such, the Court held that the claim was

conflict preempted, because the state tort law being used under would be an obstacle to the

accomplishment of FMVSS 208’s objective. Id. at 886.

       Here, Plaintiffs do not seek to hold Defendant liable under any sort of unlawful or unfair

business practice statute, nor a declaration that the sale of any product containing glycyrrhizin is

unlawful or an unfair business practice. Nor have there been any sort of regulations from the

FDA or Congress related to the use of glycyrrhizin, such that Defendant using an alternative

ingredient would be an obstacle to the accomplishment of a regulatory or congressional

objective. As such, Defendant’s case law is simply inapplicable to this case, and its argument

must be rejected.

                                         CONCLUSION

       For the foregoing reasons, Defendant’s motion must be summarily denied.


Dated: Fresh Meadows, New York
   December 24, 2021
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